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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                   __________  DistrictofofVirginia
                                                                            __________

                        UBIQUITI INC.,                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:22-cv-00352
                                                                     )
  BRIAN KREBS, and KREBS ON SECURITY, LLC,                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KREBS ON SECURITY, LLC,
                                           4522 LITTLE RIVER RUN DR
                                           ANNANDALE, VA, 22003




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Daniel P. Watkins
                                           Clare Locke LLP
                                           10 Prince Street
                                           Alexandria, VA 22314
                                           daniel@clarelocke.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             03/29/2022
                                                                                          Signature of Clerk or Deputy Clerk
